                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

GAIL SMITH, individually and on behalf
                                    )
of similarly situated persons       )
                        Plaintiff,  )
                                    )
v.                                  )               JUDGMENT
                                    )
                                    )               No. 7:19-CV-105-FL
SOUTHEASTERN PIZZA PEOPLE, INC., )
d/b/a Domino’s Pizza and JOHN RIDGE )
                      Defendants.   )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, on the
parties’ joint motion for settlement approval and plaintiff’s motion for attorney fees and costs.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the orders entered on
August 28, 2020, that distribution of the Net Settlement Fund, as defined in the Settlement
Agreement, to the Plaintiff and Authorized Claimants is APPROVED. A participation award
payment in the amount of $5,000.00 to Gail Smith is APPROVED. Payment of the actual costs of
the Settlement Claims Administrator and Plaintiff's Counsel in an amount not to exceed $15,000.00
is APPROVED. Attorneys' fees to Class Counsel in the amount that is equivalent to 30% of the
Total Settlement Amount is APPROVED.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that plaintiff’s counsel shall be
paid $157,500 in attorney fees and $5,166.75 in costs.

This Judgment Filed and Entered on August 28, 2020, and Copies To:
Jesse H. Forester / Jacob J. Modla (via CM/ECF Notice of Electronic Filing)
John Hagood Tighe / Kathleen McLeod Caminiti (via CM/ECF Notice of Electronic Filing )


August 28, 2020                      PETER A. MOORE, JR., CLERK
                                       /s/ Sandra K. Collins
                                     (By) Sandra K. Collins, Deputy Clerk




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